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12                    UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
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14

15                                         No. 8:23-cv-00268-WLH-DFM
     APPLIED MEDICAL RESOURCES CORP.,      AMICUS BRIEF ON BEHALF OF THE
16   Plaintiff                             FEDERAL TRADE COMMISSION
17     v.                                  HEARING:
                                           AUGUST 4, 2023
     MEDTRONIC, INC., Defendant            1:00 P.M.
18                                         COURTROOM 9B
19                                         HON. WESLEY L. HSU
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1          The free and fair functioning of health care markets is vitally important to

2    American consumers. In the last sixty years, American health care spending has

3    soared from 5% to 18% of GDP. 1 Yet far too often, anticompetitive practices in

4    these markets result in higher prices, lower quality, less innovation, and fewer

5    choices.

6          The allegations in this case illustrate one way that this can happen: a domi-

7    nant supplier of medical devices allegedly imposes exclusive-dealing and bun-

8    dling arrangements that shut out rivals. The Federal Trade Commission takes no

9    position on whether those allegations are accurate or state a claim. But in defend-

10   ing the charges, Medtronic makes arguments that have broad implications for anti-

11   trust enforcement in the health care sector and beyond. Some of these arguments

12   are wrong. The FTC submits this amicus brief to correct some of Medtronic’s er-

13   roneous assertions and mistaken legal points.

14                    INTEREST OF THE FEDERAL TRADE COMMISSION

15         The FTC is an independent agency charged with enforcing competition and

16   consumer-protection laws. See 15 U.S.C. §§ 41–58. For many years, the FTC has

17   enforced competition law and studied competitive issues in the health care sector. 2

18   It has investigated or challenged exclusive dealing and similar conduct in diverse

19   1
       U.S. Centers for Medicare & Medicaid, National Health Expenditure Data: His-
20   torical, https://www.cms.gov/research-statistics-data-and-systems/statistics-trends-
     and-reports/
21   nationalhealthexpenddata/nationalhealthaccountshistorical (click “NHE Summary,
     including share of GDP”).
22
     2
      Federal Trade Commission, Health Care, https://www.ftc.gov/industry/health-
23   care.
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1    health care markets, including markets for medical devices. See, e.g., FTC v.

2    Surescripts, 424 F. Supp. 3d 92 (D.D.C. 2020); FTC v. Shkreli, 581 F. Supp. 3d

3    579, 625 (S.D.N.Y. 2022). 3 The FTC has also submitted amicus briefs in private

4    health care antitrust cases to address legal arguments that, if widely credited,

5    would improperly shield anticompetitive practices from antitrust scrutiny. 4 The

6    FTC does so here too.

7                                        BACKGROUND

8            Applied Medical and Medtronic both sell “advanced bipolar energy de-

9    vices,” a type of surgical equipment. Compl. ¶ 2. 5 Medtronic is the dominant U.S.

10   seller, and Applied alleges that Medtronic’s contracting practices violate the anti-

11   trust laws.

12           First, Applied objects to Medtronic’s contracts with Group Purchasing Or-

13   ganizations (alliances of hospitals that “aggregate their purchasing power” to

14   bring down costs). ¶ 6. Applied claims that Medtronic and certain GPOs have

15   agreed that Medtronic shall be the GPOs’ “‘sole source’ of advanced bipolar de-

16   vices.” ¶ 6. Hospitals, for their part, allegedly “face financial penalties” and other

17   burdens under these contracts if they circumvent the GPOs. ¶ 87. So Medtronic’s

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     3
      The FTC conducted a preliminary investigation of conduct in the markets at issue
20
     here. This should not be construed as a determination that violations did or did not
21   occur.
     4
      See Federal Trade Commission, Legal Library: Amicus Briefs,
22   https://www.ftc.gov/legal-library/browse/amicus-briefs?field_industry=1357.
23   5
         D.E. 1.
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1    exclusive contracts allegedly impede Applied from competing for hospitals’ busi-

2    ness. ¶ 91.

3           Second, Applied challenges Medtronic’s bundling practices. ¶ 93. Apart

4    from bipolar devices, Medtronic has a much larger business in other surgical prod-

5    ucts. ¶ 74. And Medtronic allegedly conditions discounts for these products on a

6    hospital’s also buying Medtronic’s bipolar devices. ¶ 95. According to Applied, be-

7    cause it does not sell these other products, it cannot match Medtronic’s bundled

8    discounts and so cannot compete in the bipolar-device market, even though it of-

9    fers a better product. ¶¶ 96, 163.

10                                        ARGUMENT

11          Medtronic has moved to dismiss Applied’s claims. In addition to case-spe-

12   cific arguments (which we do not address), Medtronic relies on artificial distinc-

13   tions and flawed proposed pleading standards. Contrary to Medtronic’s argu-

14   ments:

15          • A plaintiff alleging unlawful exclusive dealing need not plead a numeri-

16             cal percentage of sales foreclosed.

17          • Exclusive contracts are not conclusively legal just because they are

18             “short term” – and even if that were true, exclusive contracts that last

19             three years are not short term.

20          • A contract can constitute exclusive dealing even if it is not formally

21             binding. What matters, under Supreme Court precedent, is the contract’s

22             “practical effect.”

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1            • An exclusive-dealing plaintiff need not allege that there are no “alterna-

2                  tive distribution channels.”

3            • To plead unlawful bundling, an antitrust plaintiff need not specify the

4                  defendant’s exact prices and costs.

5            • When an antitrust plaintiff challenges a defendant’s bundled “dis-

6                  counts,” it is not complaining that the defendant’s prices are too low. A

7                  defendant’s “discount” may be a self-serving label for a pricing structure

8                  under which no consumer actually receives a lower price.

9            In sum, antitrust law is fact-bound and turns on “actual market realities,”

10    not “formalistic distinctions.” Eastman Kodak Co. v. Image Technical Services,

11    Inc., 504 U.S. 451, 466–467 (1992). 6 The Court should reject the formalistic dis-

12    tinctions that Medtronic offers here.

13           A. Exclusive-dealing plaintiffs need not allege the percentage of the
                market that has been foreclosed
14

15           Applied claims that Medtronic has engaged in unlawful exclusive dealing.

16    In an exclusive-dealing scheme, a firm arranges for its customers or suppliers to

17    limit their dealings with the firm’s rivals. When an exclusive arrangement harms

18    competition, it may violate Sections 1 and 2 of the Sherman Act, Section 3 of the

19    Clayton Act, and Section 5 of the Federal Trade Commission Act. 15 U.S.C. §§ 1,

20    2, 14, 45.

21

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      6
       Unless otherwise noted, this brief omits internal quotation marks, citations, and
23    alteration marks in its quotations of court decisions.
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1           In an exclusive-dealing case, “foreclosure” refers to potential transactions

2     that the defendant has made unavailable to its rivals. Foreclosure evidence is not

3     strictly necessary to show competitive harm, since a plaintiff can always rely on

4     “direct evidence” of “reduced output, increased price, or decreased quality.” Ohio

5     v. American Express Co.,

6     138 S. Ct. 2274, 2284 (2018). But it becomes important when a plaintiff relies on

7     “indirect evidence” to establish competitive harm: in an exclusive-dealing case,

8     the most important indirect “proxy for anticompetitive harm” is “substantial fore-

9     closure.” McWane v. FTC, 783 F.3d 814, 835 (11th Cir. 2015); see Tampa Elec-

10    tric Co. v. Nashville Coal Co., 365 U.S. 320, 327–28 (1961). In United States v.

11    Microsoft, for example, the Government established its prima facie case of “harm

12    to competition” by showing that Microsoft had monopoly power and “clos[ed] to

13    rivals a substantial percentage of the available opportunities” in the browser mar-

14    ket. 253 F.3d 34, 70–71 (D.C. Cir. 2001).

15          Medtronic argues (at 7) 7 that, to allege substantial foreclosure, an exclusive-

16    dealing plaintiff must “offer factual allegations regarding the portion of market-

17    wide sales that were foreclosed by the [defendant’s] alleged conduct.” This is in-

18    correct. Indeed, an exclusive-dealing plaintiff need not “place an exact number on

19    the percentage foreclosed” at any stage of the case. McWane, 783 F.3d at 837. The

20    plaintiff can always rely on qualitative evidence, like evidence that the exclusive

21    arrangement “tied up the key dealers” in the market. Id. at 838.

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      7
       All page references are to Medtronic’s brief in support of its motion to dismiss,
23    Doc. 19-1.
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1           Even when a plaintiff does ultimately rely on a numerical figure, it need not

2     include the number in its complaint. Before discovery, “a plaintiff is not neces-

3     sarily required to allege a specific percentage of foreclosure.” FTC v. Qualcomm

4     Inc., 2017 WL 2774406, at *24 (N.D. Cal. Jun. 26, 2017) (quoting E.I du Pont de

5     Nemours and Co. v. Kolon Industries, Inc., 637 F.3d 435, 452 n.12 (4th Cir.

6     2011)). After all, a complaint must offer “facts demonstrating” a legal wrong, not

7     “mathematical precision.” Landers v. Quality Commc’ns, Inc., 771 F.3d 638, 646

8     (9th Cir. 2014). The district court in Qualcomm thus rejected the argument that the

9     case should be dismissed because the plaintiff did not allege the percentage of the

10    market that was foreclosed. 2017 WL 2774406, at *24.

11          Demanding mathematical precision is especially improper at the pleading

12    stage because exact numbers are likely to be within the defendant’s control. See

13    generally Orduno v. Hendrix, 2017 WL 11705427, at *11 (C.D. Cal. 2017). To

14    plead a foreclosure percentage, a plaintiff would need to know the defendant’s

15    sales figures and contract terms. But “at the pre-discovery, motion-to-dismiss

16    stage,” plaintiffs—especially private plaintiffs like Applied—“likely ha[ve] insuf-

17    ficient information to calculate” “a specific percentage of market foreclosure.”

18    Kolon, 637 F.3d 435, 452 n.12. Demanding that plaintiffs allege a precise figure at

19    the pleading stage would thus conflict with federal pleading standards and be

20    “problematic.” Id.

21          Medtronic’s cited cases do not say otherwise. Medtronic first quotes from a

22    dissent to an opinion upholding a trial ruling. Omega Environmental v. Gilbarco,

23    127 F.3d 1157, 1167, 1170 (9th Cir. 1997) (Pregerson, C.J., dissenting). Neither

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1     Omega’s majority nor the dissent rests on pleading standards or hints at Med-

2     tronic’s proposed rule. In Hip Hop Beverage v. Monster Energy, the plaintiff’s

3     only relevant allegation was that “(at most) four brokers refused to do business

4     with [it] due to [the defendant’s] conduct.” 733 F. App’x 380, 381 (9th Cir. 2018).

5     So the court faulted the plaintiff for not alleging facts indicating substantial fore-

6     closure. Id. The court did not require the plaintiff to allege a foreclosure percent-

7     age, and certainly did not announce a rule for all plaintiffs. See also Hip Hop Bev-

8     erage Corp. v. Monster Energy Co., 2016 WL 7324091, at *5 (C.D. Cal. Oct. 26,

9     2016) (dismissing the complaint because the claims were contradictory).

10          In Medtronic’s other two cases, the complaints offered even fewer details

11    about the challenged conduct. In one, the counterclaim plaintiff did not say what

12    the defendant’s policy was and alleged “no facts” about the amount of commerce

13    foreclosed. Crocs v. Effervescent, 248 F. Supp. 3d 1040, 1058–1059 (D. Colo.

14    2017). In the other, the plaintiff did not clearly state that its sales were affected at

15    all by the defendant’s policies. Randy’s Ring & Pinion Service v. Easton, 2009

16    WL 10727790, at *2 & n.1, *5 & n.5 (W.D. Wash. Nov. 16, 2009). Also, the

17    plaintiff offered “little or no information” about the market, strength of the parties,

18    or volume of commerce affected. Id at *5. Neither case faulted the plaintiff merely

19    for omitting the portion of sales that was foreclosed.

20          The question for the Court is whether Applied’s allegations plausibly sug-

21    gest “substantial foreclosure.” If they do, then whether Applied has also alleged a

22    precise number is irrelevant.

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            B. Exclusive contracts can harm competition even when they are short-
1              term, and a three-year term is not short
2           Medtronic next argues (at 8) that it cannot have substantially foreclosed com-
3     petition because its exclusive “contracts with GPOs are no longer than three years,”
4     which it labels a “relatively short duration.”
5           The premise is wrong: exclusive contracts can harm competition even when
6     they are short-term, and three years is not necessarily a “short duration” for an ex-
7     clusive contract. Medtronic’s quote comes from a summary-judgment decision in-
8     volving contracts “ranging from 30 days to 3 years” that could be “terminate[d] for
9     any reason” on “7, 10, or 30 days[’] notice.” Western Parcel Express v. UPS, 65 F.
10    Supp. 2d 1052, 1064 (N.D. Cal. 1998). In Medtronic’s other case, the contracts were
11    mostly “a year long,” with only two contracts “more than two years long” and all
12    “easily terminable” on at most “45-days’ notice.” PNY Technologies v. SanDisk,
13    2014 WL 2987322, at *4 (N.D. Cal. July 2, 2014).
14          Indeed, courts often rule that three-year exclusive contracts can be illegal. In
15    one case, for instance, the court found that three-year contracts for map data may
16    have harmed competition given the “rapidly evolving market for personal naviga-
17    tion devices.” Tele Atlas v. NAVTEQ, 2008 WL 4809441, at *17–18, 21 (N.D. Cal.
18    Oct. 28, 2008). In Capital Radiology v. St. Peter’s Hospital, the court found that a
19    three-year contract for medical services was plausibly anticompetitive given the de-
20    fendant’s market power. 2008 WL 11415918, at *2, 4–5 (D. Mont. Mar. 6, 2008).
21    Ditto for even shorter contracts: In Nilavar v. Mercy Health System Western Ohio,
22    a radiology practice signed a two-year exclusive contract with a hospital. 142 F.
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1     Supp. 2d 859, 878 (S.D. Ohio 2000). The arrangement plausibly harmed competi-

2     tion, the court held, because competing radiologists might not be able to wait around

3     two years for another shot at winning the contract. Id.; see also In re Epipen Anti-

4     trust Litig., 2017 WL 6524839, at *17 (D. Kan. Dec. 21, 2017) (rejecting motion to

5     dismiss a challenge to contracts of one- to two-years’ duration).

6           In any case, even relatively short exclusive contracts can be unlawful. Exclu-

7     sive dealing is illegal when its “practical effect” is to foreclose commerce. Tampa

8     Electric, 365 U.S. at 326. One way to foreclose commerce is to expressly lock up

9     customers for a long stretch. But a dominant firm can use nominally short-term

10    contracts to achieve the same end by, for example, employing its market power to

11    force customers to keep renewing. Such a contract may appear “terminable on short

12    notice on [its] face” but not be “in practice.” Masimo Corp. v. Tyco Health Care

13    Group, L.P., 2006 WL 1236666, at *6 (C.D. Cal. Mar. 22, 2006), aff’d, 350 F.

14    App’x 95 (9th Cir. 2009). Short-term contracts can harm competition just as much

15    as long-term ones.

16          Short-term exclusive contracts can thus be illegal. In United States v. Mi-

17    crosoft, for instance, the court rejected the argument that “short-term” exclusive

18    arrangements “cannot unreasonably restrain trade.” 1998 WL 614485, at *20

19    (D.D.C. Sept. 14, 1998). While the contracts’ length might be “appropriate to con-

20    sider in a final determination,” it did “not admit of, much less compel summary

21    judgment.” Id. Likewise, in Pro Search Plus v. VFM Leonardo, the court found that

22    “short duration” exclusive contracts that “c[ould] be terminated upon short notice”

23    were plausibly anticompetitive. 2013 WL 6229141, at *6–8 (C.D. Cal. Dec. 2,

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1     2013). And in Surescripts, the court explained that “[e]ven if the [defendant’s ex-

2     clusive] contracts were short term and easily terminable,” this had to be weighed

3     against the “nature of the … relevant markets” and the defendant’s “dominant mo-

4     nopoly position.” Surescripts, 424 F. Supp. 3d at 104; see also Standard Oil Co. of

5     California v. United States, 337 U.S. 293, 296 (1949) (condemning contracts that

6     could be terminated twice a year, on 30 days’ notice). By contrast, when courts do

7     dismiss challenges to short-term contracts, they do so not merely because of the

8     contracts’ formal duration but because the plaintiff did not adequately plead that the

9     contracts had “the ‘practical effect’ of unreasonably suppressing competition.” PNY

10    Technologies, 2014 WL 2987322, at *4.

11          C. Exclusive dealing may be unlawful even without a binding contract

12          In the same vein, Medtronic argues (at 11, 12) that its contracts with GPOs
13    are “not exclusive as a matter of law” because they do not “contractually obligate
14    anyone to purchase anything.” Medtronic likewise says (at 13) that if “there is no
15    obligation to buy at all,” then “the plaintiff cannot state an exclusive dealing
16    claim.”
17          These assertions defy decades of settled law. What matters under Supreme
18    Court precedent, again, is not an arrangement’s formal terms but its “practical ef-
19    fects.” Tampa Electric, 365 U.S. at 326. This is plain from the text of the Clayton
20    Act, which directs courts to assess all sorts of arrangements: not just express con-
21    tracts, but also “price[s],” “discount[s],” or “rebate[s]” made “on the condition …
22    that the [customer] shall not use or deal in the goods … of a competitor.” 15
23    U.S.C. § 14. An arrangement can thus be illegal even if it “does not contain
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1     specific agreements not to use the goods of a competitor.” Tampa Electric, 365

2     U.S. at 326.

3           In United States v. Dentsply, for instance, the defendant manufacturer

4     threatened to punish its dealers if they also dealt in rival products. 399 F.3d 181,

5     185 (3d Cir. 2005). This was illegal exclusive dealing because “the economic ele-

6     ments involved … realistically ma[d]e the agreements [t]here as effective as those

7     in written contracts.” Id. at 196. In McWane too, the defendant violated the law by

8     penalizing disloyal distributors. 783 F.3d at 820–21.

9           The Court of Appeals said nothing different in Allied Orthopedic Appli-

10    ances v. Tyco Health Care Group, 592 F.3d 991 (9th Cir. 2010). Although Allied

11    Orthopedic did not feature a binding contract, that fact was hardly dispositive. Ra-

12    ther, the court affirmed summary judgment for the defendant because “on the facts

13    of this case”—which included “no evidence” that consumers lost access to ri-

14    vals—the plaintiff needed to show “something more.” Id. at 997. The court never

15    said that this “something more” must be a binding contract. And more recently,

16    the Ninth Circuit suggested (without deciding) that nonbinding contracts “may be

17    understood as ‘de facto’ exclusive dealing contracts.” Aerotec Int’l, Inc. v. Honey-

18    well Int’l, Inc., 836 F.3d 1171, 1182 (9th Cir. 2016).

19          Medtronic’s claim that exclusive dealing requires a binding contract that

20    bars purchasing from a rival is thus inconsistent with the case law.

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            D. Exclusive-dealing plaintiffs need not plead that there are no “alter-
1              native distribution channels”
2           Medtronic claims that the GPOs it deals with, and that are allegedly fore-
3     closed to rivals, are “channels of distribution” from device makers to hospitals.
4     From that premise, Medtronic reasons (at 10) that the Complaint should be dis-
5     missed for failing to “allege that there are no true alternative channels of distribu-
6     tion beyond [the GPOs].”
7           Even assuming that GPOs are a “channel of distribution,” Medtronic is
8     wrong. Exclusive dealing can harm competition by foreclosing effective channels.
9     “The mere existence of other avenues of distribution is insufficient without an as-
10    sessment of their overall significance to the market.” Dentsply, 399 F.3d at 196;
11    cf. New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 656 (2d Cir.
12    2015) (“For there to be an antitrust violation, generics need not be barred from all
13    means of distribution if they are barred … from the cost-efficient ones.”).
14          Medtronic’s citations do not set out a different rule. In those cases, a sub-
15    stantial and sufficient alternative channel existed, or the plaintiff did not attempt
16    to show otherwise. See Omega, 127 F.3d at 1163 (defendant made 30% of its sales
17    without the allegedly foreclosed distributors, and another firm made 73%); PNY
18    Tech. Inc. v. SanDisk Corp., 2014 WL 1677521, at *7–8 (N.D. Cal. April 25,
19    2014) (defendant “ha[d] not articulated any reason why consumers would prefer”
20    buying from the allegedly foreclosed retailers); Randy’s Ring, 2009 WL
21    10727790, at *5 (plaintiff was not clearly foreclosed from even the “defendant’s
22    distribution network” (emphasis added)); Int’l Constr. Prod. LLC v. Caterpillar
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1     Inc., 2016 WL 264909, at *6 (D. Del. Jan. 21, 2016) (complaint identified rivals

2     that had managed to “establish[ ] their own dealerships”).

3            Even if the GPOs count as a distribution channel, the Complaint is not

4     doomed just because hospitals can, in theory, incur a penalty and circumvent the

5     GPOs. While this fact could be “relevant to assessing market foreclosure,” the

6     Court would still need to decide whether the existence of an alternative channel

7     “eliminate[s] substantially any foreclosure effect.” Omega, 127 F.3d at 1163.

8            E. Plaintiffs do not need to cite specific prices in order to plead unlawful
                bundling
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10           Medtronic argues (at 14) that to plead a bundling claim, Applied had to al-

11    lege “the price [that the parties] charge and the discounts Medtronic offers.” But

12    that heightened pleading standard is not the law and would make bundling claims

13    nearly impossible to bring.

14           “A bundled discount occurs when a firm sells a bundle of goods or services

15    for a lower price than the seller charges for the goods or services purchased indi-

16    vidually.” Cascade Health Solutions v. PeaceHealth, 515 F.3d 883, 894 (9th Cir.

17    2008). Bundling may be anticompetitive and violate the antitrust laws. Id. at 896.

18    It is most concerning when a dominant firm sells a full bundle, while a smaller

19    firm sells only some products in that bundle. Even if the smaller firm’s products

20    are better or cheaper, consumers may buy from the dominant firm in order not to

21    lose the bundled price. Bundling can thus harm competition by excluding less di-

22    versified rivals. Id. at 897.

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1            In the Ninth Circuit, to challenge bundled pricing under the Sherman Act, a

2     private plaintiff must show that the defendant fails the “incremental” price-cost

3     test, also known as the “discount-attribution” test. 8 Id. at 906. Suppose the defend-

4     ant sells product A (which no one else sells) for $100; product B (which a rival

5     does sell) for $60; and both together for $120, a $40 “discount.” Consumers who

6     want A must buy it from the defendant for $100. If they choose to buy product B

7     from the defendant as well, then because of the $40 “discount,” their effective

8     price for B is $20, not the $60 list price. If the defendant’s cost of making and

9     selling B is less than this incremental price of $20, then the defendant passes the

10    test and the claim fails. The logic is that if the defendant can make B for less than

11    $20, then so can a rival who is as efficient as the defendant. Accordingly, the bun-

12    dled pricing would not exclude an equally efficient rival.

13           The incremental price-cost test is controversial. See, e.g., E. Elhauge, Tying

14    and Bundled Discounts, 123 Harv. L.R. 397, 462–64 (2009); S. Salop, The

15    Flawed Incremental Price-Cost Test, 81 Antitrust L.J. 371, 400, 403–05 (2017);

16    N. Economides, Loyalty Rebates, 54 Antitrust Bulletin 259, 268–272 (2009). Ex-

17    cluding even a less-efficient rival from a concentrated market can harm competi-

18    tion and consumers. And yet the incremental price-cost test gives no protection to

19    less-efficient rivals, even if the only reason they are less efficient is that they can-

20    not operate at scale due to the very bundling at issue. See Elhauge, supra, at 463.

21    Perversely, then, the test rewards the defendants whose bundling harms rivals the

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       The Ninth Circuit has not addressed the test for bundling under the broader FTC Act, which the
23    FTC enforces. See FTC v. Brown Shoe Co., 384 U.S. 316, 321 (1966).

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1     most. It also gives “monopolists free rei[n] to squash nascent, albeit unproven,

2     competitors at will”—something “inimical to the purpose of the Sherman Act.”

3     Microsoft, 253 F.3d at 79. For these and similar reasons, the FTC does not endorse

4     the test. Nor does the Third Circuit. See LePage’s Inc. v. 3M, 324 F.3d 141, 151–

5     52 (3d Cir. 2003).

6            The test, of course, binds private plaintiffs in the Ninth Circuit. But given

7     that the test already under-protects competition, the Court should be especially

8     wary of endorsing a mistakenly high pleading standard. Yet Medtronic proposes

9     just that. Medtronic faults Applied (at 14) for omitting “supporting allegations

10    about the price [that the parties] charge and the discounts Medtronic offers.” Its

11    objection seems to be that Applied does not allege numerical values. But such al-

12    legations are not required. As discussed above, a complaint does not need “mathe-

13    matical precision.” Landers, 771 F.3d at 646. A private plaintiff like Applied will

14    rarely know its rival’s prices or costs. If it had to allege those facts to state a

15    claim, then challenging anticompetitive bundling would be nearly impossible.

16           Many bundling claims have survived a motion to dismiss without offering

17    numerical evidence. In one case, the plaintiff alleged that “it [wa]s more efficient

18    than [the defendant]” but could not “profitably offer [its product] at a price suffi-

19    ciently low to compete with the discounts provided in [the defendant’s] bundles.”

20    Inline Packaging v. Graphic Packaging International, 164 F. Supp. 3d 1117, 1129

21    (D. Minn. 2016). This was enough. Id. Another plaintiff adequately stated a bun-

22    dling claim by alleging a “substantial” bundled discount that left the incremental

23    “resulting price” below the defendant’s “average variable cost.” Safeway v.

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1     Abbott, 2010 WL 147988, at *5 (N.D. Cal. 2010). And for a third plaintiff, it was

2     enough to allege that the defendant “use[d] a bundling pricing scheme to sell

3     dated goods below cost.” Blue Sky Color of Imagination v. Mead Westvaco Corp.,

4     2010 WL 4366849, at *4–5 (C.D. Cal. 2010).

5           Medtronic has not identified any case endorsing its heightened pleading

6     standard. In its only citation for this point (at 14), Arista Networks v. Cisco, the

7     plaintiff offered no support at all for its bundling claim, even though it “must have

8     obtained some information, for example, from its customers, to make it believe

9     that [the defendant] [wa]s pricing below incremental costs.” 2017 WL 6102804, at

10    *14 (N.D. Cal. 2017). Arista did not say that a plaintiff must plead the “amount”

11    of the discount; it said merely that the plaintiff must give some supporting facts,

12    which could be the amount “or” something else. Id. at *13–14.

13          The incremental price-cost test is demanding enough after full discovery. If

14    private plaintiffs had to plead numerical pricing evidence to even get discovery,

15    then bundling by monopolists would be nearly per se legal. That is not the law.

16          F. Bundling claims do not challenge prices that are “too low”

17          Finally, Medtronic asserts (at 1, 4–5, 13) that Applied, in challenging Med-
18    tronic’s bundling tactics, is faulting Medtronic for offering “prices [that] are too
19    low.” But this assertion misunderstands the economic theory of a bundling claim.
20    In a bundling claim, the plaintiff does not challenge the absolute level of the de-
21    fendant’s prices. Rather, it objects to a pricing differential between “loyal” cus-
22    tomers who buy the full bundle from the monopolist and “disloyal” customers
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1     who do not. A bundling claim challenges the condition that customers must satisfy

2     to get the best deal.

3           Such conditional pricing is far more suspect than an across-the-board price

4     cut. Indeed, conditional pricing need not result in any consumer getting a lower

5     price. As every consumer knows, “discount” can be a self-serving, misleading la-

6     bel. For example, a firm might originally charge $80 for staples and $40 for bipo-

7     lar devices. It could then raise its prices to $100 for staples and $40 for bipolar de-

8     vices, but offer a $20 “discount” for customers who buy both products. Despite

9     the nominal discount, no consumer is better off. Loyal customers pay the same

10    $120 that they paid before. Only now, disloyal customers—those who want to buy

11    bipolar devices elsewhere—must pay $20 more for the staples than they did be-

12    fore. There is a “discount” compared only to the defendant’s new higher baseline.

13          In other words, bundling can “induce[ ] the buyer to purchase additional

14    units … not by offering the buyer direct savings” but by charging “a penalty for

15    disloyalty.” F. Scott Morton & Z. Abrahamson, A Unifying Analytical Framework

16    for Loyalty Rebates, 81 Antitrust L.J. 777, 786 (2017); cf. In re Surescripts Anti-

17    trust Litig., 608 F. Supp. 3d 629, 637 (N.D. Ill. 2022) (upholding a complaint

18    claiming that a “differential between [the defendant’s] loyalty rate and its non-loy-

19    alty rate” was a “penalty for using a rival’s [product]” that helped consolidate its

20    monopoly). In the short run, no buyer gets a lower price, while some pay more.

21    And in the long run, the firm might starve the competition, force exit, and be able

22    to charge everyone more. A true unconditional discount cannot work this way.

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1           Courts are thus skeptical of defendants who label their conditional prices a

2     “discount.” In the Illinois Surescripts case, for instance, the court recognized that

3     a loyalty “discount” can induce exclusivity that ultimately leads to “higher market

4     prices.” Id. at 646. In another case, the court explained that “conditional rebates”

5     can amount to “anticompetitive conduct—beyond [low] pricing itself” by exclud-

6     ing rivals and “protect[ing] [a] monopoly.” In re EpiPen, 2017 WL 6524839, at

7     *7. These cases involved single-product, not bundled, “discounts,” but the point is

8     the same: not every self-described “discount” leads to lower prices for consumers.

9     The Court should reject that framing of the case.

10                                        CONCLUSION

11          The FTC submits these points for the Court’s consideration.

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      Dated: July 3, 2023             Respectfully submitted,
2

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